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 8                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 9                                          AT TACOMA

10    UNITED STATES OF AMERICA,
11                   Plaintiff,
                                                                 Case No. CR05-5828FDB
12           v.
                                                                 ORDER GRANTING IN PART
13    KEVIN TUBBS, JOSEPH DIBEE,                                 DEFENDANT WATERS’ MOTION
      JOSEPHINE S. OVERAKER, JUSTIN                              RE SERVICE OF SUBPOENAS ON
14    SOLONDZ, and BRIANA WATERS,                                FBI AGENTS
15                   Defendants.
16
            Defendant Briana Waters moves that the United States be ordered to serve subpoenas on six
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     FBI agents: Ted Halla and Athony Torres (Seattle Office), Paul Caldwell Jr. And John Ferreira
18
     (Portland Office), and Sean Bradley and Thomas Anzelmo (Sacramento Office). Defendants
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     contends that because these witnesses participated in various proffer sessions with key witnesses in
20
     this case, each of these agents is needed as a potential defense witness for impeachment purposes if
21
     they contradict any statements that they made about this case. Because Waters’ counsel is appointed
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     under the CJA, she is entitled to have the Court pay the costs and fees for service and the attendance
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     of these witnesses.
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            The Government indicates that Greg Jennings, who serves as FBI counsel in Seattle, has
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26   ORDER - 1
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 1   accepted service of the four subpoenas directed at active FBI agents: Ted Halla, Anthony Torres,

 2   Paul Caldwell, and Thomas Anzelmo. Thus, the motion is moot as to these witnesses. Mr. Jennings

 3   is unable to accept service for John Ferreira, who is retired, and for Shawn Bradley, who is on active

 4   duty with the United States Marine Corps and is serving in Iraq until August 2008. The United

 5   States has no objection to service of the subpoenas upon Agents Bradley and Ferreira,, although the

 6   Government indicates that the U.S. Marshal’s service believes it will be unlikely that they could

 7   locate Agent Bradley in Iraq and that the subpoena would be returned unserved. Moreover, the

 8   Government states that as Agent Anzelmo was present at the same meetings as Agent Bradley, he

 9   would be able to serve Waters’ purpose as a potential impeachment witness.

10          Waters’ motion is moot as to the four active FBI agents. The motion is granted as to service

11   by the U.S. Marshal upon retired agent John Ferreira. As to Agent Bradley who is stationed in Iraq,

12   Defendant Waters must make a greater showing that Bradley’s testimony is necessary and in the

13   interest of justice pursuant to 28 U.S.C. § 1783 governing the subpoena of a person in a foreign

14   country.

15          NOW, THEREFORE, IT IS ORDERED: Defendant Waters’ Motion To Order The United

16   States Marshals To Serve Subpoenas on FBI Agents [Dkt. # 173] is found to be MOOT in part as to

17   the four active FBI agents, and GRANTED as to retired agent John Ferreira. As to Agent Bradley,

18   serving in Iraq, the motion is DENIED, Defendant being required to make a greater showing of need

19   for his testimony.

20          DATED this 6th day of September, 2007.

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23
                                           A
                                           FRANKLIN D. BURGESS
                                           UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
